               Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 1 of 28




                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
__________________________________________
MICHAEL BUSH,                              )
      Plaintiff,                           )
                                           )
vs.                                        )  C.A. NO. 1:21-cv-12039-IT
                                           )
ACTON-BOXBOROUGH REGIONAL SCHOOL )
DISTRICT, PETER LIGHT, DAWN GRIFFIN       )
BENTLEY and ERIN O’BRIEN BETTEZ,          )
      Defendants.                          )

                                                    TABLE OF CONTENTS

          MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION TO
          DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT UNDER RULE
          12(b)(6) ................................................................................................................................1

I. ALLEGED FACTS .....................................................................................................................3

II. STANDARD OF REVIEW .......................................................................................................4

III. ARGUMENT ............................................................................................................................5

          A.         THIS COURT SHOULD FOLLOW THE RECENT DECISION IN BUSH
                     V. FANTASIA AND DISMISS PLAINTIFF’S FIRST AMENDED
                     COMPLAINT IN ITS ENTIRETY UNDER RULE 12(b)(6). ................................5

          B.         THE ABRSD SCHOOL COMMITTEE HAD LEGAL AUTHORITY TO
                     ISSUE A MASK MANDATE FOR THE 2021-2022 SCHOOL YEAR IN
                     RESPONSE TO THE COVID-19 PANDEMIC. ....................................................7

          C.         COUNT I FAILS TO STATE A CLAIM UNDER TITLE II OF THE
                     ADA. ......................................................................................................................10

          D.         COUNT II FAILS TO STATE A SUBSTANTIVE DUE PROCESS
                     CLAIM UNDER 42 U.S.C. § 1983. ......................................................................14

          E.         COUNT IV FAILS TO STATE A FREE EXERCISE CLAIM UNDER
                     THE FIRST AMENDMENT. ................................................................................15

          F.         COUNT V FAILS TO STATE A PEACEABLE ASSEMBLY CLAIM
                     UNDER THE FIRST AMENDMENT. .................................................................16




                                                                        i
               Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 2 of 28




          G.        COUNT VI FAILS TO STATE AN EQUAL PROTECTION CLAIM
                    UNDER THE FOURTEENTH AMENDMENT. ..................................................17

          H.        COUNT III FAILS TO STATE A CONSPIRACY CLAIM UNDER 42
                    U.S.C. § 1985. ........................................................................................................19

          I.        THE INDIVIDUAL DEFENDANTS ARE ENTITLED TO QUALIFIED
                    IMMUNITY. ..........................................................................................................20

IV. CONCLUSION.......................................................................................................................20

CERTIFICATION PURSUANT TO LOCAL RULE 7.1 .............................................................21

CERTIFICATE OF SERVICE ......................................................................................................21




                                                                    ii
              Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 3 of 28




                                               TABLE OF AUTHORITIES

Cases

Alexis v. McDonald’s Restaurants of Mass., Inc.,
  67 F.3d 341 (1st Cir. 1995)........................................................................................................ 19

Alston v. Spiegel,
  988 F.3d 564 (1st Cir. 2021).................................................................................................. 4, 19

Ashcroft v. Iqbal,
  556 U.S. 662 (2009) ................................................................................................................ 4, 5

Bell Atlantic Corp. v. Twombly,
 550 U.S. 544 (2007) ................................................................................................................ 4, 5

Bragdon v. Abbott,
  524 U.S. 624 (1998) .................................................................................................................. 11

Bryant v. Caritas Norwood Hosp.,
  345 F. Supp. 2d 155 (D. Mass. 2004) ........................................................................................ 11

Buchanan v. Maine,
 469 F.3d 158 (1st Cir. 2006)...................................................................................................... 12

Bush v. Fantasia,
 2022 WL 4134501 (D. Mass. Sept. 12, 2022) .................................................................... passim

Calvary Chapel of Bangor v. Mills,
 459 F. Supp.3d 273 (D. Me. 2020) ............................................................................................ 14

Carreras v. Sajo, Garcia & Partners,
 596 F.3d 25 (1st Cir. 2010).................................................................................................. 10, 12

Center for Bio-Ethical Reform, Inc. v. Napolitano,
 648 F.3d 365 (6th Cir. 2011) ..................................................................................................... 17

Charles v. Johnson,
 18 F.4th 686 (11th Cir. 2021) .................................................................................................... 11

Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah,
 508 U.S. 520 (1993) .................................................................................................................. 16

Cousins v. Wigoda,
 419 U.S. 477 (1975) .................................................................................................................. 17




                                                                    iii
               Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 4 of 28




DePoutot v. Raffaelly,
 424 F.3d 112 (1st Cir. 2005)...................................................................................................... 15

Doe v. Univ. of Md. Med. Syst. Corp.,
 50 F.3d 1261 (4th Cir. 1995) ..................................................................................................... 14

Erickson v. Pardus,
  551 U.S. 89 (2007) ...................................................................................................................... 5

Family Freedom Endeavor, Inc. v. Riley,
 2021 WL 6298346 (Mass. Super. Ct. Nov. 16, 2021) ........................................................... 9, 15

FCC v. Beach Communications, Inc.,
 508 U.S. 307 (1993) .................................................................................................................. 18

Fortuna v. Town of Winslow,
 2022 WL 2117717 (D. Me. June 13, 2022) ............................................................................... 14

Gattineri v. Town of Lynnfield,
 2021 WL 3634148 (D. Mass. Aug. 17, 2021) ....................................................................... 7, 19

Grace United Methodist Church v. City of Cheyenne,
 451 F.3d 643 (10th Cir. 2006) ................................................................................................... 16

Griffin v. Breckenridge,
 403 U.S. 88 (1971) .................................................................................................................... 19

Gunter v. North Wasco County Sch. Dist. Bd. of Ed.,
 2021 WL 6063672 (D. Ore. Dec. 22, 2021) .............................................................................. 18

Harding v. Cianbro Corp.,
 436 F. Supp. 2d 153 (D. Me. 2006) ........................................................................................... 11

Heller v. Doe by Doe,
 509 U.S. 312 (1993) .................................................................................................................. 18

Henrietta D. v. Bloomberg,
 331 F.3d 261 (2d Cir. 2003) ...................................................................................................... 12

Jacobson v. Comm. of Mass.,
  197 U.S. 11 (1904) .......................................................................................................... 7, 14, 15

Kusper v. Pontikes,
 414 U.S. 51 (1973) .................................................................................................................... 17




                                                                     iv
              Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 5 of 28




Lloyd v. School Bd. of Palm Beach County,
  2021 WL 5353879 (S.D. Fla. Oct. 29, 2021) ............................................................................ 18

Mancini v. City of Providence,
 909 F.3d 32 (1st Cir. 2018).................................................................................................. 11, 12

Mozert v. Hawkins Cty. Bd. of Ed.,
 827 F.2d 1058 (6th Cir. 1987) ................................................................................................... 16

Mulero-Carrillo v. Román-Hernández,
 790 F.3d 99 (1st Cir. 2015)........................................................................................................ 15

NAACP v. Alabama ex rel Patterson,
 357 U.S. 449 (1958) .................................................................................................................. 16

NAACP v. Button,
 371 U.S. 415 (1963) .................................................................................................................. 17

Olmstead v. L.C., ex rel Zimring,
 527 U.S. 581 (1999) .................................................................................................................. 12

Papasan v. Allain,
 478 U.S. 265 (1986) .................................................................................................................... 4

Parker v. Hurley,
 514 F.3d 87 (1st Cir.), cert. denied, 555 U.S. 815 (2008) ..................................................... 6, 15

Parker v. Landry,
 935 F.3d 9 (1st Cir. 2019).......................................................................................................... 19

Parks v. Port of Oakland,
 2017 WL 2840704 (N.D. Cal. July 3, 2017) ............................................................................. 12

Pletcher v. Giant Eagle, Inc.,
  2020 WL 6263916 (W.D. Pa. Oct. 23, 2020) ............................................................................ 13

Roberts v. United States Jaycees,
 468 U.S. 609 (1984) ............................................................................................................. 16-17

Roman Catholic Diocese of Brooklyn,
 141 S.Ct. 63 (2020).............................................................................................................. 17, 18

Schatz v. Republican State Leadership Comm.,
  669 F.3d 50 (1st Cir. 2012).......................................................................................................... 4




                                                                    v
               Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 6 of 28




School Dist. of Abington Township, PA v. Schempp,
  374 U.S. 203 (1963) .................................................................................................................. 15

South Bay United Pentecostal Church v. Newsom,
  140 S.Ct. 1613 (2020)................................................................................................................ 18

Stepien v. Murphy,
  2021 WL 5822987 (D. N.J. Dec. 7, 2021)................................................................................. 18

Swanson v. Guthrie Ind. Sch. Dist. No. I-L,
 135 F.3d 694 (10th Cir. 1998) ................................................................................................... 16

Theriault v. Flynn,
  162 F.3d 46 (1st Cir. 1998).......................................................................................................... 6

Together Employees v. Mass. Gen’l Brigham, Inc.,
  573 F. Supp. 3d 412 (D. Mass. 2021) .................................................................................... 3, 14

W.S. by Sonderman v. Ragsdale,
 2021 WL 2024687 (N.D. Ga. May 12, 2021)............................................................................ 18

Washington v. Glucksberg,
 521 U.S. 702, 727 (1997) .......................................................................................................... 18

Statutes

42 U.S.C. § 1983 ..................................................................................................................... 14, 17
42 U.S.C. § 1985 ........................................................................................................................... 19
42 U.S.C. § 12102(1)(A)......................................................................................................... 10, 11
42 U.S.C. § 12131(2) .................................................................................................................... 14
42 U.S.C. § 12132 ......................................................................................................................... 12

M.G.L. c. 17, § 2A .......................................................................................................................... 8
M.G.L. c. 69, § 1B .......................................................................................................................... 9
M.G.L. c. 76, § 15 ........................................................................................................................... 9

Rules

Fed.R.Civ.P. 8(a) ............................................................................................................................ 7
Fed.R.Civ.P. 41(b) .......................................................................................................................... 7




                                                                      vi
               Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 7 of 28




Regulations

28 C.F.R. § 35.108 ........................................................................................................................ 10
28 C.F.R. § 35.108(c)(1)(i) ........................................................................................................... 11
28 C.F.R. § 35.108(c)(2)(ii) .......................................................................................................... 11
28 C.F.R. § 35.108(d)(1)(v) .......................................................................................................... 12
29 C.F.R. § 1630.2(h) ................................................................................................................... 10

603 CMR § 27.08(1) ....................................................................................................................... 8

Other Authorities

Governing Through the ‘New Normal’: COVID-19 Lessons Learned on Local Government Law,
 the Constitution and Balancing Rights in Times of Crises,
 50 Stetson L. Rev. 547 (Summer 2021) .................................................................................... 13




                                                                     vii
          Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 8 of 28




      MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION
 TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT UNDER RULE 12(b)(6)

       Pro se plaintiff, Michael Bush, brings this action against the Acton-Boxborough Regional

School District (“ABRSD”), Superintendent Peter Light, former Assistant Superintendent Dr.

Dawn Bentley, and Director of Community Education Erin Bettez. Suit arises out of a mask

mandate adopted by the Acton-Boxborough Regional School Committee (“School Committee”)

for the 2021-2022 school year in response to the COVID-19 Pandemic. 1 Based on

recommendations of the Centers for Disease Control and Prevention (“CDC”) and American

Academy of Pediatrics, the mandate required all students, staff and visitors to wear a face mask

when inside ABRSD facilities regardless of vaccination status. (First Amended Complaint, Ex. 1,

ECF Doc. No. 29-7). Claiming the mask mandate violated Title II of the Americans with

Disabilities Act (“ADA”) and his constitutional rights as guaranteed under the First and Fourteenth

Amendments, plaintiff, Michael Bush (a visitor), originally filed this action against the ABRSD

and Superintendent Light on December 14, 2021. 2 On August 9, 2022, this Court granted

defendants’ Motion to Dismiss plaintiff’s original Complaint under Rule 12(b)(6) for failure to

state a claim. (ECF Doc. No. 26). In so doing, the Court also indicated it would consider a motion

for leave to amend the Complaint provided such motion was filed within 14 days and accompanied

by a proposed Amended Complaint. (Id., at 11 n. 9).

       On August 22, 2022, plaintiff filed a Motion for Leave to File First Amended Complaint

(ECF Doc. No. 28) together with a Memorandum of Reasons in Support thereof (ECF Doc. No.

29) and proposed First Amended Complaint. (ECF Doc. No. 29-4). On September 12, 2022, this




1 The mask mandate was lifted by ABRSD on February 28, 2022.
2 At that time, plaintiff was represented by counsel. On August     23, 2022, this Court allowed
plaintiff’s counsel’s Motion to Withdraw. (ECF Doc. No. 30).


                                                1
           Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 9 of 28




Court allowed plaintiffs’ Motion for Leave to File First Amended Complaint as “unopposed.”

(ECF Doc. No. 36). In his First Amended Complaint, plaintiff advances the same claims against

the same defendants targeted in his original Complaint, but also adds two new defendants as well

as a claim based on the alleged violation of his rights to the free exercise of religion as protected

under the First Amendment. (ECF Doc. No. 37, Count IV). 3

       At the hearing held on defendants’ Motion to Dismiss plaintiff’s original Complaint,

plaintiff admitted that the civil rights at issue all arise out of his alleged disability. (ECF Doc. No.

26, at 7 n. 6). Yet, in true shotgun fashion, plaintiff continues to maintain that the mask mandate

violated multiple rights for which he is now entitled to recovery. He seeks relief in six Counts:

       COUNT                   CAUSE OF ACTION                            DEFENDANT(S)
           I          Title II of the ADA, 42 U.S.C. § 12132                    ABRSD
          II                      42 U.S.C. § 1983 4                        All Defendants
         III                       42 U.S.C. § 1985                    Peter Light & Erin Bettez
         IV              Violation of Free Exercise Clause                  All Defendants
                                 of First Amendment
           V          Violation of Peaceable Assembly Clause                 All Defendants
                                 of First Amendment
          VI           Violation of Equal Protection Clause                  All Defendants
                             of Fourteenth Amendment

Once again, however, plaintiff’s First Amended Complaint fails to state claims upon which relief

can be granted and, therefore, must be dismissed. Defendants submit this Memorandum of Law in

Support of their Motion to Dismiss.




3 Plaintiff’s First Amended Complaint totals 31 pages and 199 paragraphs. Attached to the First
Amended Complaint are three sworn Affidavits and 22 Exhibits totaling an additional 181 pages.
Although such a pleading is hardly the “short and plain” statement of claims to which defendants
and this Court are entitled under Fed.R.Civ.P. 8(a), defendants do not at this time move to
involuntarily dismiss plaintiff’s First Amended Complaint under Fed.R.Civ.P. 41(b) for failure to
comply with the Federal Rules of Civil Procedure, but choose instead to focus on the substance of
plaintiff’s allegations. Nevertheless, as set forth below, more is clearly not better.
4 Although not entirely clear, it appears Count II asserts a claim for the alleged violation of
plaintiff’s substantive due process rights as protected under the Fourteenth Amendment.


                                                   2
          Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 10 of 28




                                    I. ALLEGED FACTS

       In August 2020, the School Committee (like nearly all school districts throughout the

Commonwealth) adopted policies to address the issue of public safety within its schools in the

wake of the COVID-19 Pandemic. The disease is highly contagious and can lead to severe illness

and death. Together Employees v. Mass. Gen’l Brigham, Inc., 573 F. Supp. 3d 412, 432 (D. Mass.

2021). In August 2021, the School Committee revised and readopted its COVID-19 policies for

the upcoming 2021-2022 school year in accordance with guidance from the Massachusetts

Department of Elementary & Secondary Education (“DESE”). School Committee Policy “EBCFA

– Masks/Face Coverings” states, in part, as follows:

       According to public health experts and guidance from the Centers for Disease Control and
       Prevention (CDC) and the Massachusetts Department of Public Health (MDPH), face
       coverings/mask-wearing is an important component in the prevention and control of
       COVID-19 in concert with physical distancing and other measures and offers one of the
       best ways to mitigate their spread for the safety of our school community.
       ….
       The Acton-Boxborough Regional School District (ABRSD) may at times mandate the use
       of face coverings/masks that cover the nose and mouth (as defined in EBCFA-R) by all
       individuals (including visitors) in school buildings, on school grounds and on school
       transportation, even when physical distancing is observed. Such mandates will be
       developed and enacted by the District Administration and may be amended periodically in
       response to public health conditions with regard to the spread of COVID-19. 5

School Committee Policy “EBCFA-R – Requirement to Wear Masks/Face Coverings” states, in

part, as follows:

       Given the recent increase in the spread of COVID-19 throughout the state and region, and
       based upon the recommendations of Centers for Disease Control and Prevention (CDC)
       and the American Academy of Pediatrics, the District will begin the 2021-2022 school
       year by requiring all students and staff PK-12, regardless of vaccination status, to
       wear a mask when indoors.
       …..
       Visitors



5 A true and accurate copy of School Committee Policy EBCFA is attached to defendants’ original
Motion to Dismiss as Exhibit “A.” (ECF Doc. No. 13-1).


                                                3
          Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 11 of 28




           •   All visitors, where permitted, to schools for meetings and events are required to
               wear a mask when indoors.

(First Amended Complaint, Ex. 1, ECF Doc. No. 29-7) (emphasis in original).

       In the fall of 2021, plaintiff registered for the ABRSD Community Education adult

volleyball league. (Id., ¶ 9). Because league games are played in ABRSD facilities, participants

were required to wear face masks in accordance with School Committee policies. (Id., ¶¶ 8 & 10).

Mr. Bush objected to the mask requirement, claiming masks are “medically contraindicated” and

“medically inappropriate” for him. (Id., ¶¶ 11, 63 & 120). He provided a doctor’s note to this effect

to ABRSD. (Id., ¶ 11; Ex. 2, ECF Doc. No. 29-8). Plaintiff demanded an accommodation from

ABRSD in the form of a medical exemption from the mask mandate. (Id., ¶ 80). The defendant

declined, suggesting Mr. Bush wear a face shield instead of a face mask. Mr. Bush refused. (Id., ¶

98). On September 21, 2021, Ms. Bettez barred Mr. Bush from entry and participation in the adult

volleyball league at Superintendent Light’s instruction. (Id., ¶ 113). This litigation ensued.

                                  II. STANDARD OF REVIEW

       A motion to dismiss under Rule 12(b)(6) tests the legal sufficiency of a pleading. To

survive a Rule 12(b)(6) motion, a plaintiff must “provide the ‘grounds’ of his ‘entitle[ment] to

relief’ [which] requires more than labels and conclusions, and a formulaic recitation of the

elements of a cause of action will not do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555

(2007) (citing Papasan v. Allain, 478 U.S. 265, 286 (1986)). See Schatz v. Republican State

Leadership Comm., 669 F.3d 50, 55 (1st Cir. 2012) (court should ignore statements “that simply

offer legal labels and conclusions or merely rehash cause-of-action elements”). In other words, a

plaintiff must allege “enough facts to state a claim to relief that is plausible on its face.” Alston v.

Spiegel, 988 F.3d 564, 571 (1st Cir. 2021) (quoting Twombly, 550 U.S. at 555). A mere “possibility

of misconduct” is not enough. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).



                                                   4
          Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 12 of 28




        In 2007, the Supreme Court restated the well-known standard that “when ruling on a

defendant’s motion to dismiss, a judge must accept as true all of the factual allegations contained

in the complaint.” Erickson v. Pardus, 551 U.S. 89, 94 (2007). Two years later, the Supreme Court

clarified Twombly by stating that “[t]o survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft, 556 U.S. at 678. “Determining whether a complaint states a plausible claim for relief will

... be a context specific task that requires the reviewing court to draw on its judicial experience and

common sense.” Id., 556 U.S. at 679.

                                         III. ARGUMENT

A.      THIS COURT SHOULD FOLLOW THE RECENT DECISION IN BUSH V.
        FANTASIA AND DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT IN
        ITS ENTIRETY UNDER RULE 12(b)(6).

        On November 4, 2021, Mr. Bush and eleven other pro se plaintiffs filed a similar action

against the Town of Carlisle, MA, and eight current and former Town officials challenging mask

mandates implemented by the Carlisle Board of Health (“BOH”) and Trustees of the Gleason

Public Library. 6 In their Complaint, plaintiffs claimed (among other things) that the mask mandates

discriminated against them because of their disabilities in violation of Title II of the ADA, violated

their rights to due process and equal protection as guaranteed under the Fourteenth Amendment,

and violated their rights to the free exercise of religion and to peaceably assemble as guaranteed

under the First Amendment. 7 Bush v. Fantasia, 2022 WL 4134501, at *5 (D. Mass. Sept. 12, 2022).



6 Mr. Bush is also a pro se plaintiff in a third COVID-19 mask mandate case: Michael Bush v. The
Wang Center for the Performing Arts, Inc. d/b/a The Boch Center, C.A. No. 1:22-cv-10473-GAO.
The Wang Center’s Motion to Dismiss plaintiff’s First Amended Complaint was argued before
Magistrate Judge Jennifer Boal on August 10, 2022 and remains under advisement.
7 While not all such claims were pled in plaintiffs’ original Complaint, the Court nonetheless
considered them since they were raised in plaintiffs’ opposition to defendants’ Rule 12(b)(6)
motion.


                                                   5
          Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 13 of 28




Defendants moved to dismiss plaintiffs’ Complaint under Rule 12(b)(6). On September 12, 2022,

Judge Allison Burroughs allowed defendants’ motion and dismissed plaintiffs’ Complaint.

       As a preliminary matter, the Court found that the BOH and Trustees had statutory authority

to issue mask mandates. “Defendants responsibly relied on guidance from state and federal

officials, including ‘overwhelming medical evidence’ regarding the utility of face masks in

reducing the spread of COVID-19.” Id., at *5. In the face of such authority, the Court summarily

rejected all of plaintiffs’ claims. Regarding their ADA 8 claim, the Court concluded that plaintiffs

failed to allege sufficient facts to show they were “disabled” within the meaning of the ADA, or

otherwise discriminated against “by reason of” such disabilities. Id., at *9. The Court further noted

that “the ADA allows public entities to consider whether even otherwise qualified applicants for

accommodation pose a direct threat to the health and safety of others.” Id. (citing Theriault v.

Flynn, 162 F.3d 46, 48 (1st Cir. 1998)). Nor could plaintiffs raise a substantive due process

challenge absent a showing that the mask mandates implicated a fundamental right, constituted an

irrational response to the COVID-19 Pandemic, or evidenced governmental action that shocked

the conscience. Id., at **7 – 8. Plaintiffs made no such showing.

       To prevail on a free exercise claim, a plaintiff must demonstrate that a government action

has a “coercive effect … [on] the practice of his religion.” Parker v. Hurley, 514 F.3d 87, 103 (1st

Cir.), cert. denied, 555 U.S. 815 (2008) (quotation omitted). Because Mr. Bush and the other

plaintiffs failed to identify any religious practice or to detail the coercive effect of mask mandates

on such practice, the Court dismissed their free exercise claim as well. Bush v. Fantasia, at *6.

Even if plaintiffs adequately alleged a burden on their religion (which they did not), the mask



8 Plaintiffs abandoned their ADA claim against the BOH because its mask mandate included a
carveout for medical exceptions, but continued to challenge the Library mask mandate which
included no such carveout.


                                                  6
          Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 14 of 28




mandates did not single them out on the basis of their religion but instead “applied equally to all

….” Id., at *6. Thus, the mask mandates “easily” withstood both the rational basis test as well as

the “far more deferential Jacobson review.” Id., at **6-7 (interpreting Jacobson v. Comm. of

Mass., 197 U.S. 11, 38 (1904)).

       Plaintiffs’ equal protection claim was equally unavailing. Because the mask mandates were

“rational,” the Court ruled plaintiffs could not state a viable claim under the Equal Protection

Clause. Id., at *7. In reaching her decision, Judge Burroughs cited the recent case of Lowe v. Mills,

where the District Court of Maine dismissed an equal protection challenge to a vaccine mandate

for health care workers once it determined the mandate did not violate their free exercise of religion

rights. 2022 WL 3542187, *14 (D. Me. Aug. 18, 2022).

       Finally, the Court dismissed plaintiffs’ claim that the mask mandates somehow infringed

upon their right to peaceably assemble. To state a peaceable assembly claim, a plaintiff must allege

sufficient facts to show that the governmental action affects “existing members’ ability to carry

out their various purposes” in a “significant way.” Bush v. Fantasia, at *7 (quoting Gattineri v.

Town of Lynnfield, 2021 WL 3634148, at *9 (D. Mass. Aug. 17, 2021)). Pro se plaintiffs “alleged

no facts to support the contention that the mask mandates inferred [sic] with their rights to engage

with activities protected by the First Amendment in public places or to associate with others with

shared ideals or beliefs.” Id. This Court should follow the reasoning of Bush v. Fantasia and

dismiss Mr. Bush’s nearly identical claims against the ABRSD and its officials.

B.     THE ABRSD SCHOOL COMMITTEE HAD LEGAL AUTHORITY TO ISSUE A
       MASK MANDATE FOR THE 2021-2022 SCHOOL YEAR IN RESPONSE TO
       THE COVID-19 PANDEMIC.

       On May 28, 2021, Governor Charlie Baker terminated the state of emergency he had

declared 14 months earlier and rescinded many prior COVID-19 Orders, including Order No. 67




                                                  7
         Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 15 of 28




which required that face masks be worn in indoor public locations. At the same time, however,

Governor Baker also declared that an emergency “detrimental to the public health” continues to

exist. Under Massachusetts law, this declaration effectively empowered the Commissioner of the

Department of Public Health (“DPH”), to “take such action … as he may deem necessary to assure

the maintenance of public health and the prevention of disease.” M.G.L. c. 17, § 2A. It also

triggered Massachusetts regulations regarding public school safety.

       Upon declaration by the Governor that an emergency exists which is detrimental to the
       public health, or upon a determination by the Board that exigent circumstances exist that
       adversely affect the ability of students to attend classes in a safe environment, … the
       [DESE] Commissioner … shall issue health and safety requirements and related guidance
       for districts.

603 CMR § 27.08(1). On August 24, 2021 (the eve of the 2021-2022 school year), the DESE Board

voted to declare “exigent circumstances” pursuant to 603 CMR § 27.08(1) and require the wearing

of face masks in all public schools by students (age 5 and above), staff and visitors.9 Three days

later, DESE and the DPH jointly issued “COVID-19 Guidance for Districts Schools: Fall 2021”10

detailing implementation of the mask mandate in public schools.

       In subsequent actions filed in six Massachusetts Superior Courts, Children’s Health Rights

of Massachusetts (a non-profit organization of volunteer parents) and others immediately

challenged the statewide mask mandate adopted for school children by the DESE Commissioner.

After consolidating the cases, Hampden Superior Court Judge David Hodge denied plaintiffs’

Motion for a Preliminary Injunction (seeking to enjoin enforcement of the mandates) on the

grounds that plaintiffs failed to demonstrate a substantial likelihood of success on the merits or




9 See https://41g41s33vxdd2vc05w415s1e-wpengine.netdna-ssl.com/wp-
content/uploads/2021/08/DESE_2021-0825mask-requirement.pdf (last visited Sept. 25, 2022).
10 See https://archives.lib.state.ma.us/bitstream/handle/2452/848449/on1266224136-
English.pdf?sequence=1&isAllowed=y (last visited Sept. 25, 2022).


                                                8
         Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 16 of 28




that they would suffer irreparable harm if such injunctive relief was denied. Family Freedom

Endeavor, Inc. v. Riley, 2021 WL 6298346, at *8 (Mass. Super. Ct. Nov. 16, 2021). In reaching

his decision, Judge Hodge ruled that DESE has the authority to issue a mask mandate under M.G.L.

c. 69, § 1B (which evinces a legislative intent that DESE shall ensure students attend classes in a

healthy and safe educational environment). Further, school districts and municipalities “have

ample and well-established power to impose measures to protect the general welfare and best

interests of their students.” Id., at *13. In support of this conclusion, Judge Hodge cited Jacobson

(among other cases), as well as M.G.L. c. 76, § 15, which requires vaccinations for students to

attend schools.   In rejecting plaintiffs’ argument that the mask mandates violate parents’

constitutional rights to make decisions regarding their children’s health, Judge Hodge wrote:

       The record compels the conclusion that the mask mandates in Massachusetts public schools
       bear a substantial relation to the protection of public health. At the State and local levels,
       the mandates were created, tailored, and implemented in consultation with medical experts
       and on the basis of widely accepted public health recommendations. They serve the
       legitimate State interest of slowing the spread of COVID-19. Accordingly, the mandates
       easily withstand rational basis review.

Family Freedom, at *13.

       On January 25, 2022, a single justice of the Massachusetts Appeals Court affirmed the

decision below, concluding that the Legislature granted DESE “broad authority to set policies and

standards for the education of public school students in Massachusetts including the wearing of

masks to reduce the spread of COVID-19 ….” 11 In compliance with DESE requirements, the

School Committee adopted a mask mandate for ABRSD schools for the 2021-2022 school year. It

cannot be faulted for doing so.




11 A copy of the single justice decision is attached to defendants’ Motion to Dismiss as Exhibit A.


                                                 9
           Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 17 of 28




C.     COUNT I FAILS TO STATE A CLAIM UNDER TITLE II OF THE ADA.

       Count I of plaintiff’s First Amended Complaint is subject to dismissal on four grounds.

First, plaintiff fails to allege sufficient facts to show that he is a “qualified individual with a

disability.” A disability is “a physical or mental impairment that substantially limits one or more

major life activities ….” 42 U.S.C. § 12102(1)(A); 28 C.F.R. § 35.108. See Carreras v. Sajo,

Garcia & Partners, 596 F.3d 25, 32 (1st Cir. 2010) (plaintiff bears burden of establishing disability

sufficient to state a prima facie of discrimination). Mr. Bush fails to allege a “disability” within

the meaning of the ADA. He alleges no “physical or mental impairment,” but pleads only that

wearing a face mask is “medically contraindicated” for him. (ECF Doc. No. 37, ¶ 11). In an

Affidavit attached to his First Amended Complaint, plaintiff declines to expand upon his alleged

“impairment,” but claims only that mask-wearing impacts his “breathing, walking, bending,

lifting, carrying, shopping, performing manual tasks, doing errands, speaking, communicating,

obtaining food, and interacting with others.” (ECF Doc. No. 29-1). Plaintiff’s alleged

“impairment,” however – i.e., the physiological disorder or condition affecting one or more of his

body systems – remains a mystery. 29 C.F.R. § 1630.2(h). This Court previously stated it was

“unclear as to what disability Bush alleges to have.” (ECF Doc. No. 26, at 5). Plaintiff’s First

Amended Complaint fails to clarify this issue.

       Further, it is plaintiff’s burden to show that his alleged disability “substantially limits one

or more major life activities ….” 42 U.S.C. § 12102(1)(A). Without disclosing his physiological

disorder or condition, plaintiff nonetheless alleges that playing volleyball is a “major life activity”

for him. (Complaint, ECF Doc. No. 1, at 3). 12 “The identification of a major life activity is a



12 While his original Complaint is no longer the operative pleading, plaintiff continues to cite the
ABRSD adult volleyball program in his First Amended Complaint as the only activity he was
unable to enjoy due to defendants’ alleged discrimination. (ECF Doc. No. 37, ¶¶ 128 – 132).


                                                  10
          Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 18 of 28




necessary step in proving a disability.” Charles v. Johnson, 18 F.4th 686, 703 (11th Cir. 2021)

(citing Bragdon v. Abbott, 524 U.S. 624, 631 (1998)). See Mancini v. City of Providence, 909 F.3d

32, 42 (1st Cir. 2018). A “major life activity” is defined to include, but not limited to:

       Caring for oneself, performing manual tasks, seeing, hearing, eating, sleeping, walking,
       standing, sitting, reaching, lifting, bending, speaking, breathing, learning, reading,
       concentrating, thinking, writing, communicating, interacting with others, and working ….

28 C.F.R. § 35.108(c)(1)(i). It also includes the operation of major bodily functions. 28 C.F.R.

§ 35.108(c)(1)(i). The “touchstone” for determining whether an activity is a “major life activity”

is its “significance.” Bragdon, 524 U.S. at 638. “Whether an activity is a major life activity is not

determined by reference to whether it is of central importance to daily life.” 28 C.F.R.

§ 35.108(c)(2)(ii). Still, a “major” life activity must be more than a mere pastime or hobby.

Pastimes and hobbies are of far lesser importance (and of a lower degree) than the types of

activities enumerated in the definition above and, thus, should not be used to define one’s disability

status. See Harding v. Cianbro Corp., 436 F. Supp. 2d 153, 173 (D. Me. 2006) (climbing held not

a “major life activity”); Bryant v. Caritas Norwood Hosp., 345 F. Supp. 2d 155, 165 (D. Mass.

2004) (nighttime driving held not a “major life activity”). While the term “major” does not impose

a “demanding standard,” it must still be interpreted to impose at least some standard. Under any

standard, playing adult volleyball should not be considered a “major life activity.”

       Finally, to establish his disability, plaintiff must show that his impairment imposes a

“substantial” limitation on a major life activity. 42 U.S.C. § 12102(1)(A).

       An impairment is a disability within the meaning of this part if it substantially limits the
       ability of an individual to perform a major life activity as compared to most people in the
       general population. An impairment does not need to prevent, or significantly or severely
       restrict, the individual from performing a major life activity in order to be considered
       substantially limiting. Nonetheless, not every impairment will constitute a disability
       within the meaning of this section.




                                                 11
          Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 19 of 28




28 C.F.R. § 35.108(d)(1)(v); Carreras, 596 F.3d at 33. According to the First Circuit, the

determination as to whether an impairment “substantially limits” a major life activity “calls for a

comparison between the plaintiff's limitations and those of the majority of people in the general

population.” Mancini, 909 F.3d at 42. To make this comparison, a court should take into account

“the nature and severity of the impairment; the duration or expected duration of the impairment;

and the permanent or long term impact, or the expected permanent or long term impact of or

resulting from the impairment.” Parks v. Port of Oakland, 2017 WL 2840704, at *4 (N.D. Cal.

July 3, 2017). The ABRSD mask mandate does not “substantially limit” plaintiff’s ability to play

adult volleyball, any more than it limits the ability of other league players (i.e., the general

population) who likewise play and compete while wearing masks. The impairment is temporary,

and its long term impact is negligible. Thus, plaintiff fails to allege sufficient facts to establish a

“disability.”

        Second, to recover under the ADA, a “plaintiff must demonstrate that a denial of benefits

occurs ‘by reason of ... disability,’ 42 U.S.C. § 12132, which essentially means that the plaintiff

must prove that the denial is ‘because of” the disability ….” Henrietta D. v. Bloomberg, 331 F.3d

261, 278 (2d Cir. 2003) (quoting Olmstead v. L.C., ex rel Zimring, 527 U.S. 581, 601 (1999)

(Kennedy, J., concurring)). Here, plaintiff cannot show he was denied the benefits of the adult

volleyball program “by reason of” or “because of” of his alleged “disability.” Rather, he was

denied the benefits of the program because – unlike all other players – he refused to wear a face

mask during the COVID-19 Pandemic. See Buchanan v. Maine, 469 F.3d 158, 177 (1st Cir. 2006)

(plaintiff failed to allege denial of benefits was “by reason of” his mental illness where police

training was insufficient to assist officers in communicating with mentally ill patients); Bush v.




                                                  12
            Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 20 of 28




Fantasia, 2022 WL 4134501, at *9 (plaintiffs fail to plead facts to plausibly suggest they were

excluded from Library “by reason of” a disability).

       Third, as this Court previously held in allowing defendants’ Motion to Dismiss plaintiff’s

original Complaint, defendants made a “reasonable accommodation” to plaintiff’s alleged

disability by inviting Mr. Bush to participate in the volleyball league while wearing a face shield

instead of a face mask. (ECF Doc. No. 37, ¶ 98). “Bush cannot allege that Defendants did not

provide a reasonable accommodation simply because they did not provide the accommodations he

requested – an outright exemption from the mask mandate.” (ECF Doc. No. 26, at 6 – 7). In his

First Amended Complaint, plaintiff complains face shields were not FDA approved 13 (ECF Doc.

No. 37, ¶ 48) and “are flimsy and tend[ ] to flop around on [his] face.” (ECF Doc. No. 29-3, ¶ 3). 14

The point, however, is that ABRSD attempted to engage plaintiff in a dialog and plaintiff refused.

See Pletcher v. Giant Eagle, Inc., 2020 WL 6263916, at *4 (W.D. Pa. Oct. 23, 2020) (wearing

face shield in place of face mask held a reasonable accommodation); N. Day & J. Cowan,

“Governing Through the ‘New Normal’: COVID-19 Lessons Learned on Local Government Law,

the Constitution and Balancing Rights in Times of Crises,” 50 Stetson L. Rev. 547, 564 (Summer

2021) (listing face shield as reasonable accommodation to person claiming they cannot wear a face

mask). 15




13 Plaintiff also alleges face masks do not prevent the spread of COVID-19. (ECF Doc. No. 37,
¶¶ 12, 23 & 67).
14 Plaintiff never tried wearing a face shield while playing volleyball. (ECF Doc. No. 29-3, ¶ 2).
Notably, however, he did wear face shields on a “few occasions … in 2020 and/or 2021,”
presumably without violating his religious beliefs.
15 The “Implementation of DESE Mask Requirement” issued on August 25, 2021 states, in part,
that students and staff who cannot wear a mask for medical reasons are exempted from the
requirement. It also states: “Face shields may be an option for students with medical or behavioral
needs who are unable to wear masks or face coverings.” See Note 9, supra.


                                                 13
          Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 21 of 28




       Fourth, a disabled individual is not otherwise “qualified” if he poses “a significant risk to

the health or safety of others by virtue of the disability that cannot be eliminated by reasonable

accommodations.” Doe v. Univ. of Md. Med. Syst. Corp., 50 F.3d 1261, 1265 (4th Cir. 1995); Bush

v. Fantasia, 2022 WL 4134501, at 9. See Together Employees, 2021 WL 5234394, at *7 (plaintiffs

who pose “direct threat” to health or safety of others in workplace are not “qualified individuals”).

The failure to wear a face mask in indoor public places during the COVID-19 Pandemic posed a

significant risk to the health or safety of other visitors. Therefore, even if plaintiff was disabled

(which defendants deny), he was not a “qualified” individual with a disability within the meaning

of 42 U.S.C. § 12131(2). Count I must be dismissed.

D.     COUNT II FAILS TO STATE A SUBSTANTIVE DUE PROCESS CLAIM
       UNDER 42 U.S.C. § 1983.

       In Jacobson v. Comm. of Mass., 197 U.S. 11 (1905), the Supreme Court rejected a

Fourteenth Amendment substantive due process challenge to a state mandated smallpox vaccine.

Id., at 31. In so doing, it applied a deferential standard of review, concluding that the mandatory

vaccination law had a “real [and] substantial relation to the protection of the public health and the

public safety.” Id. Applying the deferential Jacobson standard, courts have upheld government

mandates requiring the wearing of masks in public places against substantive due process

challenges. See Bush v. Fantasia, 2022 WL 4134501, at **7-8; Fortuna v. Town of Winslow, 2022

WL 2117717, at *15 (D. Me. June 13, 2022). “Although a government cannot use a health crisis

as a pretext for trampling constitutional rights, the Supreme Court has long recognized that ‘a

community has the right to protect itself against an epidemic of disease which threatens the safety

of its members.’” Calvary Chapel of Bangor v. Mills, 459 F. Supp.3d 273, 284 (D. Me. 2020)

(quoting Jacobson, 197 U.S. at 27). This Court should uphold the ABRSD mask mandate against

plaintiff’s substantive due process challenge.



                                                 14
          Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 22 of 28




        Even if Jacobson does not apply, plaintiff fails to show that the mask mandate is not

rationally related to a legitimate governmental purpose. Mulero-Carrillo v. Román-Hernández,

790 F.3d 99, 107 (1st Cir. 2015). See Family Freedom, 2021 WL 6298346, at *8 (mask mandates

in public schools “bear a substantial relation to the protection of public health”). Nor does he show

that the mandate sinks to a level so extreme and egregious that it shocks the conscience. DePoutot

v. Raffaelly, 424 F.3d 112, 118 (1st Cir. 2005) See Bush v. Fantasia, 2022 WL 4134501, at *8

(mask mandates “certainly do not ‘shock the conscience’”). Count II must be dismissed.

E.      COUNT IV FAILS TO STATE A FREE EXERCISE CLAIM UNDER THE FIRST
        AMENDMENT. 16

        In an Affidavit submitted in support of his First Amended Complaint, plaintiff expresses

his belief that it “violates the natural order of life” for a person or entity to attempt to obstruct or

hinder the fulfillment or function of another person’s “fundamental needs,” including “breathing,

defecating, urinating, consuming food, hydrations, and sleep.” (ECF Doc. No. 29-2, ¶ 2). Based in

part on this belief, plaintiff claims that the ABRSD mask mandate is “objectionable to the

Plaintiff’s sincerely held religious convictions.” (ECF Doc. No. 37, ¶ 65).

        This is not enough to state a free exercise claim under the First Amendment. To prevail on

a free exercise claim, plaintiff must show the coercive effect of the government action “as it

operates against him in the practice of his religion.” Parker v. Hurley, 514 F.3d at 103 (quoting

School Dist. of Abington Township, PA v. Schempp, 374 U.S. 203, 223 (1963)). As a general rule,

“a law (or policy) that is neutral and of general applicability need not be justified by a compelling

governmental interest even if that law incidentally burdens a particular religious practice or belief.”




16 Because plaintiff admitted that all civil rights claims arise out of his alleged disability, the Court
treated his First Amendment claims as “waived.” (ECF Doc. No. 26, at 7 n. 6). Defendants agree
such claims remain waived but, out of an abundance of caution, addresses them briefly herein.


                                                   15
          Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 23 of 28




Swanson v. Guthrie Ind. Sch. Dist. No. I-L, 135 F.3d 694, 697-98 (10th Cir. 1998) (citing Church

of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 531 (1993)). Absent a showing

that a plaintiff was either forced by the state to affirm or deny a belief, or forced to engage or

refrain from engaging in a practice prohibited (or mandated) by his or her religion, a free exercise

claim will ordinarily not be sustained. Mozert v. Hawkins Cty. Bd. of Ed., 827 F.2d 1058, 1065

(6th Cir. 1987), cert. denied, 484 U.S. 1066 (1988).

       Plaintiff fails to allege that he was forced to deny a religious belief or to engage in a practice

prohibited by his religion. His religion did not require him to play in the adult volleyball league.

Thus, the ABRSD mask mandate – a rule of general applicability – had no coercive effect on

plaintiff’s religious practices. Mr. Bush was free to play or not play. As Judge Burroughs noted,

the mask mandates did not single plaintiff out on the basis of his religion but instead “applied

equally to all ….” Bush v. Fantasia, 2022 WL 4134501, at *6. Just as Judge Burroughs concluded,

the ABRSD mask mandate “easily” withstands both the rational basis test and the “far more

deferential Jacobson review.” Id., at **6-7. Count IV must be dismissed.

F.     COUNT V FAILS TO STATE A PEACEABLE ASSEMBLY CLAIM UNDER THE
       FIRST AMENDMENT.

       The right to peaceably assemble has largely been subsumed by the freedom of association.

Grace United Methodist Church v. City of Cheyenne, 451 F.3d 643, 658 (10th Cir. 2006). Recent

cases interpret the freedom of association as protecting two types of associative freedom – the right

to expressive association, and the right to intimate association. Expressive association remains

closely affiliated with the right to free speech. People have the right to associate together for

expressive purposes, often political purposes. NAACP v. Alabama ex rel Patterson, 357 U.S. 449,

463 (1958). The right to intimate association recognizes the right to maintain close familial or

other private associations free from state interference. Roberts v. United States Jaycees, 468 U.S.



                                                  16
          Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 24 of 28




609, 619 (1984). Typically, courts strike down any governmental restriction that “substantially

burdens” the freedom to associate unless it is supported by a “compelling” state interest. NAACP

v. Button, 371 U.S. 415, 438 (1963). And, even if there is a compelling state interest, the means

employed to further that interest must not be overbroad. Cousins v. Wigoda, 419 U.S. 477, 487

(1975); Kusper v. Pontikes, 414 U.S. 51, 59 (1973).

       Plaintiff cannot prevail on his peaceable assembly claim, as participation in the Community

Education adult volleyball league is neither expressive association nor intimate association. While

it may be healthy, social and fun, volleyball play is simply not “expressive.” Nor is it intimate.

Individuals who sign up to play in the adult volleyball league may share an interest in sport, but

they are not a private organization of “shared ideals and beliefs.” Nor do they associate as a way

to insulate themselves from the “power of the State.” Finally, even if plaintiff’s “right” to

participate in the adult volleyball league is protected under the First Amendment, any infringement

on such right by requiring players to wear a mask is supported by the “compelling” state interest

of stemming the spread of COVID-19. See Roman Catholic Diocese of Brooklyn, 141 S.Ct. 63, 67

(2020) (Roberts, C.J., concurring). Count V must be dismissed.

G.     COUNT VI FAILS TO STATE AN EQUAL PROTECTION CLAIM UNDER THE
       FOURTEENTH AMENDMENT.

       To prevail under 42 U.S.C. § 1983 for violation of his right to equal protection, plaintiff

must show that defendants treated him differently from similarly situated persons and that such

disparate treatment “either burdens a fundamental right, targets a suspect class, or has no rational

basis.” Center for Bio-Ethical Reform, Inc. v. Napolitano, 648 F.3d 365, 379 (6th Cir. 2011)

(citation omitted). At the outset, defendants did not treat plaintiff differently – they treated him

like everyone else – i.e., no mask, no entry. Second, plaintiff’s so-called “right” to enter an indoor

public space to play volleyball without wearing a face mask is by no means a “fundamental” one.



                                                 17
         Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 25 of 28




See Washington v. Glucksberg, 521 U.S. 702, 727 (1997) (fundamental right is one “deeply rooted

in our history and traditions” or “fundamental to our concept of constitutionally ordered liberty.”)

Nor are those who wish to enter ABRSD property mask-less considered members of a “suspect

class.” Thus, the School Committee’s mask mandate must be upheld so long as it survives rational

basis review. W.S. by Sonderman v. Ragsdale, 2021 WL 2024687, at *3 (N.D. Ga. May 12, 2021)

(rational basis test held proper standard of review for mask mandate); Lloyd v. School Bd. of Palm

Beach County, 2021 WL 5353879, at *11 (S.D. Fla. Oct. 29, 2021) (same). The ABRSD mask

mandate survives such review.

       Government action analyzed under the rational basis standard “is accorded a strong

presumption of validity.” Heller v. Doe by Doe, 509 U.S. 312, 319 (1993). Moreover, a

classification for disparate treatment (e.g., mask vs. no mask) “must be upheld against equal

protection challenge if there is any reasonably conceivable state of facts that could provide a

rational basis for the classification.” FCC v. Beach Communications, Inc., 508 U.S. 307, 313

(1993). Faced with the COVID-19 Pandemic and armed with guidance from the CDC and others

advising that the wearing of masks (particularly indoors) helps to prevent the spread of a deadly

disease, the School Committee can easily provide a rational basis for the mask mandate. See

Stepien v. Murphy, 2021 WL 5822987, at *8 (D. N.J. Dec. 7, 2021) (school mask mandate held

rationally related to goal of slowing spread of COVID-19); Gunter v. North Wasco County Sch.

Dist. Bd. of Ed., 2021 WL 6063672, at *12 (D. Ore. Dec. 22, 2021) (statewide mask mandate in

public schools held rationally related to legitimate interest in combatting spread of COVID-19).

Indeed, the Supreme Court has ruled that “[s]temming the spread of COVID–19 is unquestionably

a compelling interest.” Roman Catholic Diocese, 141 S.Ct. at 67 (2020). See also South Bay United

Pentecostal Church v. Newsom, 140 S.Ct. 1613, 1613 (2020) (Roberts, C.J., concurring) (“Our




                                                18
            Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 26 of 28




Constitution principally entrusts ‘[t]he safety and the health of the people’ to the politically

accountable officials of the States ‘to guard and protect.’” (quoting Jacobson). Count VI must be

dismissed.

H.        COUNT III FAILS TO STATE A CONSPIRACY CLAIM UNDER 42 U.S.C. §
          1985. 17

          To state a Section 1985(3) conspiracy, plaintiff must show: (1) that defendants,

Superintendent Light and Erin Bettez, engaged in a conspiracy; (2) to deprive him of the equal

protection of the laws; and (3) that one or more conspirators committed an act (or acts) in

furtherance of the object of the conspiracy; whereby (4) plaintiff suffered injuries or was deprived

of a protected right. Griffin v. Breckenridge, 403 U.S. 88, 102-103 (1971); Alston v. Spiegel, 988

F.3d 564, 577 (1st Cir. 2021). The alleged conspiracy must be pled with specificity. Parker v.

Landry, 935 F.3d 9, 18 (1st Cir. 2019) (“A complaint containing only vague and conclusory

allegations of a conspiracy fails to state a plausible claim under section 1985(3).”) Further, to be

actionable, a “[S]ection 1985(3) conspiracy claim requires competent evidence that ‘some racial,

or perhaps otherwise class-based, invidiously discriminatory animus’ motivated the alleged

conspirators.” Alexis v. McDonald’s Restaurants of Mass., Inc., 67 F.3d 341, 349 (1st Cir. 1995).

          As set forth above, plaintiff cannot show that he was deprived of the equal protection of

the laws. Further, plaintiff alleges no racial or class-based animus on the part of defendants.

Finally, absent an alleged violation of a protected right, plaintiff states no actionable conspiracy

claim. See Gattineri v. Town of Lynnfield, 2021 WL 3634148, at *11 (D. Mass. Aug. 17, 2021)

(“Where Plaintiffs have not stated a claim for violation of any constitutionally protected right, the

section 1985(3) conspiracy claim fails.”) Count III must be dismissed.




17 This   claim was previously dismissed by the Court. (ECF Doc. No.26, at 8-10).


                                                 19
          Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 27 of 28




I.     THE INDIVIDUAL             DEFENDANTS           ARE     ENTITLED        TO     QUALIFIED
       IMMUNITY.

       As this Court ruled on defendants’ prior Motion to Dismiss, Superintendent Light is

entitled to qualified immunity against plaintiff’s Section 1983 claims. (ECF Doc. No. 26, at 8).

This Court should now reaffirm that ruling here and confirm that the other individual defendants,

Dr. Bentley and Ms. Bettez, are likewise entitled to qualified immunity. As set forth above,

plaintiff’s allegations, even if true, do not establish viable due process or equal protection claims

under the Fourteenth Amendment and/or free expression or peaceable assembly claims under the

First Amendment. But even if they do, plaintiff’s right (if any) to enter indoor ABRSD spaces

without wearing a mask was not clearly-established at the time of defendants’ alleged actions. By

adopting and enforcing a mask mandate in the face of a deadly worldwide Pandemic, no reasonable

official in defendants’ position of the Superintendent would have understood that they were

violating plaintiff’s constitutional rights. Counts ii – VI must be dismissed as against them.

                                       IV. CONCLUSION

       For the reasons set forth above, defendants, Acton-Boxborough Regional School District,

Superintendent Peter Light, Dr. Dawn Bentley and Erin Bettez hereby request that this Honorable

Court allow their Motion to Dismiss plaintiff’s First Amended Complaint and thereafter order said

First Amended Complaint be dismissed under Rule 12(b)(6) for failure to state claims upon which

relief can be granted.




                                                 20
          Case 1:21-cv-12039-IT Document 44 Filed 09/26/22 Page 28 of 28




                                       Respectfully submitted,

                                       The Defendants,

                                       ACTON-BOXBOROUGH REGIONAL SCHOOL
                                       DISTRICT, SUPERINTENDENT PETER LIGHT,
                                       DR. DAWN BENTLEY and ERIN BETTEZ

                                       By their Attorneys,

                                       PIERCE DAVIS & PERRITANO LLP

                                       /s/ John J. Davis
                                       ______________________________________
                                       John J. Davis, BBO #115890
                                       10 Post Office Square, Suite 1100N
                                       Boston, MA 02109
                                       (617) 350-0950
                                       jdavis@piercedavis.com

Dated: September 26, 2022



                   CERTIFICATION PURSUANT TO LOCAL RULE 7.1

        Undersigned counsel for the defendants hereby certifies, pursuant to Local Rule 7.1(a)(2),
that on September 26, 2022, counsel conferred in good faith with pro se plaintiff, Michael Bush,
by telephone, and attempted in good faith to resolve or narrow the issues regarding defendants’
Motion to Dismiss Plaintiff’s First Amended Complaint Under Rule 12(b)(6).

                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing, filed through the Electronic Case Filing System, will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing and
that a paper copy shall be served upon those indicated as non-registered participants on September
26, 2022.


                                               /s/ John J. Davis
                                               _________________________
                                               John J. Davis, Esq.




                                                  21
